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 1   Todd M. Friedman (SBN 216752)
     Adrian R. Bacon (SBN 280332)
 2   LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 3   21550 Oxnard St., Suite 780
     Woodland Hills, CA 91367
 4   Phone: (323) 306-4234
 5   Fax: 866-633-0228
     tfriedman@toddflaw.com
 6
     abacon@toddflaw.com
 7
     Attorneys for Plaintiff
 8
 9                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
10
11   JONATHAN LOYHAYEM,                       ) Case No. 2:20-cv-00894-MWF-JEM
     individually and on behalf of all others )
12
     similarly situated,                      ) CLASS ACTION
13                                            )
14   Plaintiff,                               ) THIRD AMENDED COMPLAINT
                                              ) FOR VIOLATIONS OF:
15          vs.                               )
16                                            )    1. NEGLIGENT VIOLATIONS
                                                         OF THE TELEPHONE
     FRASER FINANCIAL AND                     )          CONSUMER PROTECTION
17
     INSURANCE SERVICES, INC.; and )                     ACT [47 U.S.C. §227(b)]
18   DOES 1 through 10, inclusive,            )    2.    WILLFUL VIOLATIONS
                                                         OF THE TELEPHONE
19                                            )          CONSUMER PROTECTION
     Defendants.                              )          ACT [47 U.S.C. §227(b)]
20                                            )
21                                            ) DEMAND FOR JURY TRIAL
                                              )
22
                                              )
23                                            )
24
                                              )
                                              )
25                                            )
26         Plaintiff JONATHAN LOYHAYEM (“Plaintiff”), individually and on
27   behalf of all others similarly situated, alleges the following upon information and
28   belief based upon personal knowledge:


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 1                               NATURE OF THE CASE
 2         1.     Plaintiff brings this action individually and on behalf of all others
 3   similarly situated seeking damages and any other available legal or equitable
 4   remedies resulting from the illegal actions of Defendant FRASER FINANCIAL
 5   AND INSURANCE SERVICES, INC. (hereinafter referred to as “Defendant”), in
 6   negligently, knowingly, and/or willfully contacting Plaintiff on Plaintiff’s cellular
 7   telephone in violation of the Telephone Consumer Protection Act, 47. U.S.C. § 227
 8   et seq. (“TCPA”) and related regulations, specifically the National Do-Not-Call
 9   provisions, thereby invading Plaintiff’s privacy.
10                              JURISDICTION & VENUE
11         2.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
12   a California resident, seeks relief on behalf of a Class, which will result in at least
13   one class member belonging to a different state than that of Defendant, a company
14   incorporated in California. Plaintiff also seeks up to $1,500.00 in damages for each
15   call in violation of the TCPA, which, when aggregated among a proposed class in
16   the thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
17   Therefore, both diversity jurisdiction and the damages threshold under the Class
18   Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
19         3.     Venue is proper in the United States District Court for the Central
20   District of California pursuant to 28 U.S.C. § 1391(b)(2) because Defendant does
21   business within the State of California and Plaintiff resides within the County of
22   Los Angeles.
23                                        PARTIES
24         4.     Plaintiff, JONATHAN LOYHAYEM (“Plaintiff”), is a “person” as
25   defined by 47 U.S.C. § 153 (39).
26         5.     Defendant, FRASER FINANCIAL AND INSURANCE SERVICES,
27   INC. (hereinafter “Defendant Fraser Financial”), is an investment and financial
28   services company, and is a “person” as defined by 47 U.S.C. § 153 (39).


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 1         6.     The above named Defendant, and its subsidiaries and agents, are
 2   hereinafter referred to as “Defendant.” The true names and capacities of the
 3   Defendants sued herein as DOE DEFENDANT 1 through 10, inclusive, are
 4   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 5   names. Each of the Defendants designated herein as a DOE is legally responsible
 6   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 7   Complaint to reflect the true names and capacities of the DOE Defendants when
 8   such identities become known.
 9         7.     Plaintiff is informed and believes that at all relevant times, each and
10   every Defendant was acting as an agent and/or employee of each of the other
11   Defendant and was acting within the course and scope of said agency and/or
12   employment with the full knowledge and consent of each of the other Defendant.
13   Plaintiff is informed and believes that each of the acts and/or omissions complained
14   of herein was made known to, and ratified by, each of the other Defendant.
15                              FACTUAL ALLEGATIONS
16         8.     Beginning in or around December of 2019, Defendant Fraser
17   Financial made an unsolicited job recruitment call to Plaintiff on his cellular
18   telephone number ending in -0653. This call was placed directly by an agent of
19   Fraser Financial. Fraser Financial had actual knowledge and/or should have had
20   knowledge of the conduct of its agent and therefore ratified the act. Additionally,
21   a reasonable consumer similarly situated to Plaintiff would have believed that the
22   robocall was placed by an agent of Defendant with its express authority, given that
23   the robocall identified the company by name and was clearly made for the benefit
24   of Defendant.
25         9.     Plaintiff alleges that Fraser Financial is both directly liable for placing
26   the call and in the alternative, that Fraser Financial is vicariously liable for the call
27   to Plaintiff through an agency-principle relationship, as well as through apparent
28   authority and ratification. See In re Joint Petition Filed by Dish Network, LLC, 28


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 1   FCC Rcd. 6574 (2013); Henderson v. United Student Aid Funds, Inc., 918 F.3d
 2   1068 (9th Cir. 2019), as amended on denial of reh'g and reh'g en banc (May 6,
 3   2019).
 4         10.      Plaintiff alleges that Fraser Financial was likewise acting as an agent
 5   of MassMutual, based on the content of the call placed to Plaintiff and is similarly
 6   vicariously liable for the conduct of Fraser Financial under a direct agency theory,
 7   apparent authority and ratification.
 8         11.      Defendant left a voice mail messages on Plaintiff’s cellular telephone
 9   that utilized an automated telephone dialing system and “artificial or prerecorded
10   voice” as prohibited by 47 U.S.C. § 227(b)(1)(A). Due to the nature of the call
11   being placed with an automated prerecorded voice, Plaintiff alleges that such calls
12   are almost always placed by systems that have the capacity to autodial and in fact
13   are used in an automated fashion to dial stored lists of numbers and dial them in an
14   automated fashion randomly or sequentially, and that such a system was used to
15   place the call to his phone and the phones of other similarly-situated consumers.
16         12.      On December 10, 2019, Defendant called and left the following pre-
17   recorded voice mail message for Plaintiff:
18               Hi, this is Don with Fraser Financial. It’s a Mass Mutual Company.
19               I recently saw your industry experience and I wanted to let you know
20               that we’re looking to partner with select advisers in the Los Angeles
21               area. I thought you might be a fit. We use a financial planning
22               process to help clients reach their goals. Just give me a call back at
23               (323) 894-9508 if you’re looking for a change and you’d like to
24               learn how our business model may be able to help take your practice
25               to the next level in 2020. The number again is (323) 894-9508.
26               Thanks. I look forward to hearing from you. Bye.”
27         13.      Defendant contacted, or attempted to contact, Plaintiff, unsolicited,
28   from a telephone number verified to belong to Defendant.


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 1         14.    In its pre-recorded message, Defendant Fraser Financial represents it
 2   is a part of MassMutual. Defendant Fraser Financial brands itself as a “MassMutual
 3   Firm” on its website.
 4         15.    Defendant Fraser Financials’ job recruitment call was intended for the
 5   benefit of Defendant.
 6         16.    Defendant Fraser Financial sells MassMutual’s products and services,
 7   and a successful recruitment of Plaintiff would benefit the Defendant.
 8         17.    Defendant used an “automatic telephone dialing system” as defined
 9   by 47 U.S.C. § 227(a)(1) to place its calls to Plaintiff.
10         18.    Furthermore, at one or more instance during these calls, Defendant
11   utilized an “artificial or prerecorded voice” as prohibited by 47 U.S.C. §
12   227(b)(1)(A).
13         19.    The call placed to Plaintiff interrupted his peace of mind and violated
14   his privacy and therefore caused a concrete and particularized injury in fact. The
15   call was placed to Plaintiff’s personal residential cellular phone
16         20.    Plaintiff suffered a concrete and particularized injury in fact as a result
17   of the receipt of the robocall under established binding Ninth Circuit precedent
18   because the call interrupted Plaintiff’s peace of mind, invaded his privacy, which
19   is the very harm Congress was attempting to protect by passing the TCPA:
20
           Congress sought to protect consumers from the unwanted intrusion and
21         nuisance of unsolicited… phone calls and fax advertisements. See Pub.
22         L. 102–243, § 2, ¶ 12. The session law for the TCPA itself stated:
           “Banning such automated or prerecorded telephone calls to the home,
23
           except when the receiving party consents to receiving the call or when
24         such calls are necessary in an emergency situation affecting the health
25
           and safety of the consumer, is the only effective means of protecting
           telephone consumers from this nuisance and privacy invasion.” Id. We
26         also have recognized this congressional purpose. Satterfield, 569 F.3d
27         at 954.
           The TCPA establishes the substantive right to be free from certain types
28
           of phone calls and texts absent consumer consent. Congress identified


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 1         unsolicited contact as a concrete harm, and gave consumers a means to
           redress this harm. We recognize that Congress has some permissible
 2         role in elevating concrete, de facto injuries previously inadequate in law
 3         “to the status of legally cognizable injuries.” Spokeo, 136 S.Ct. at 1549
           (quoting Lujan, 504 U.S. at 578, 112 S.Ct. 2130). We defer in part to
 4
           Congress’s judgment, “because Congress is well positioned to identify
 5         intangible harms that meet minimum Article III requirements.” Id. We
 6
           also recognize that “Congress’ role in identifying and elevating
           intangible harms does not mean that a plaintiff automatically satisfies
 7         the injury-in-fact requirement whenever a statute grants a person a
 8         statutory right and purports to authorize that person to sue to vindicate
           that right.” Id.
 9
           Congress aimed to curb …calls to which consumers did not consent by
10         prohibiting such conduct and creating a statutory scheme giving
           damages if that prohibition was violated. Unlike in Spokeo, where a
11
           violation of a procedural requirement minimizing reporting inaccuracy
12         may not cause actual harm or present any material risk of harm, see id.
13         at 1550, the telemarketing text messages at issue here, absent consent,
           present the precise harm and infringe the same privacy interests
14         Congress sought to protect in enacting the TCPA. Unsolicited …phone
15         calls or text messages, by their nature, invade the privacy and disturb
           the solitude of their recipients. A plaintiff alleging a violation under the
16
           TCPA “need not allege any additional harm beyond the one Congress
17         has identified.” Id. at 1549 (emphasis in original). Cf. Campbell–Ewald
18         Co. v. Gomez, ––– U.S. ––––, 136 S.Ct. 663, 672, 193 L.Ed.2d 571
           (2016) (affirming that “the District Court retained jurisdiction to
19         adjudicate Gomez’s [TCPA] complaint.”).
20         We hold that Van Patten alleged a concrete injury in fact sufficient to
           confer Article III standing.
21
     Van Patten v. Vertical Fitness Group, LLC, 847 F.3d 1037, 1043 (9th Cir. 2017).
22
           21.   Defendant’s calls constituted calls that were not for emergency
23
     purposes as defined by 47 U.S.C. § 227(b)(1)(A).
24
           22.   Defendant’s calls were placed to telephone number assigned to a
25
     cellular telephone service for which Plaintiff incurs a charge for incoming calls
26
     pursuant to 47 U.S.C. § 227(b)(1).
27
           23.   Plaintiff is not a customer of Defendant’s services or in the market for
28



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 1   a job with Defendant, and has never provided any personal information, including
 2   his telephone number, to Defendant for any purpose whatsoever. Defendant Fraser
 3   Financial admits that it did not have Plaintiff’s prior express consent, and that
 4   instead, Plaintiff’s phone number was scraped from the internet without his consent
 5   and cold called, which is equivalent to dialing phone numbers pout of the phone
 6   book.
 7           24.   While the TCPA exempts those calls “made with the prior express
 8   consent of the called party,” 47 U.S.C. § 227(b)(1)(A), no express consent was
 9   given in this case. Express consent is “[c]onsent that is clearly and unmistakably
10   stated.” Black’s Law Dictionary 323 (8th ed. 2004). Consent can be provided
11   through some other lesser means if not in writing, but still must be express, i.e.
12   “clearly and unmistakably stated.” Satterfield v. Simon & Schuster, Inc., 569 F.3d
13   946, 955 (9th Cir. 2009). Defendant had no express consent to call Plaintiff, for any
14   reason, on his personal cellular phone.
15           25.   Defendant’s calls to Plaintiff were unsolicited job recruitment calls,
16   not telemarketing or solicitation calls. By alleging that the calls were “unsolicited”
17   Plaintiff means that he did not provide his cellular telephone to Defendant, nor to
18   any job recruitment agency under a scenario whereby he was inviting to receive
19   recruitment calls of the nature that were placed to him by Defendant, either by
20   indicating a willingness to be called in such a manner by Defendant, or by anyone
21   else. Rather, Defendant simply took it upon itself to invade his privacy, without
22   permission, due to the fact that a third-party agency publicly posted his number on
23   the internet as a result of a statutory requirement to do so, in a similar manner that
24   the white pages may do so with respect to a consumer’s home telephone number.
25           26.   The California Department of Insurance licensing database provides
26   certain information about a particular insurance agent available to the public on its
27   website. The Insurance Board requires insurance agents to maintain contact
28   information, which is subsequently made available by the Board, primarily for


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 1   purposes of consumer transparency, i.e. so that consumers can have access to the
 2   record of a particular agent, including any disciplinary action taken against the
 3   agent, much like the State Bar website does with respect to licensed attorneys.
 4   Plaintiff’s phone number was posted on the California Insurance Board website by
 5   the Insurance Board, not by Plaintiff. Moreover, Plaintiff was not actively involved
 6   in the public posting of his phone number, nor did Plaintiff authorize his number
 7   to be to be provided to or accessed by third parties for the purposes of making
 8   invasive automated calls.
 9         27.    Plaintiff did not invite these calls under any circumstances and was
10   not in the market for a new job. Instead, Defendant scraped Plaintiff’s phone
11   number from the California Insurance Board website, which is an organization that
12   requires Plaintiff as part of his holding an insurance agent license, to maintain
13   current contact information. Plaintiff did not authorize Defendant to access his
14   phone number, and Plaintiff did not authorize anyone to contact him via the
15   Insurance Board website in order to recruit him for a job. Plaintiff was gainfully
16   employed at the time, and not in the market for a job.
17         28.    The TCPA is a content neutral statute; meaning, the content or reason
18   for the call to Plaintiff is immaterial other than for purposes of determining what
19   method of consent is required. Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663, 193
20   L. Ed. 2d 571 (2016), as revised (Feb. 9, 2016) (For telemarketing or solicitation
21   calls (which the calls to Plaintiff were not) prior express consent must be obtained
22   in writing. For job recruitment calls, like the call Plaintiff received, the standard is
23   clearly set out in Satterfield. Although consent may be provided by lesser means it
24   still must be “clearly and unmistakably” stated, and express. Here, there is simply
25   no express consent, in writing or otherwise, for Plaintiff to receive any calls of any
26   content, from the Defendant.
27         29.    During all relevant times, Defendant did not possess Plaintiff’s “prior
28   express consent” to receive calls using an automatic telephone dialing system or an


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 1   artificial or prerecorded voice on its cellular telephones pursuant to 47 U.S.C. §
 2   227(b)(1)(A). Defendant’s actions of combing the internet for phone numbers of
 3   would-be customers, and then calling those individuals without their prior express
 4   consent, is not nearly enough to warrant even the lesser standard of consent for a
 5   non-solicitation call, which has been defined as “clearly” and “unmistakable”
 6   express consent under Satterfield.
 7         30.    While the FCC held in their 1992 TCPA Order, that “persons who
 8   knowingly release their phone numbers have in effect given their invitation or
 9   permission to be called at the number which they have given, absent instructions to
10   the contrary”, the FCC was quite clear to note that it was referencing persons who
11   released their phone numbers to the creditor who ultimately called them, not to
12   some other third party. The FCC stated in an immediate footnote (see footnote 34),
13   “See 1992 TCPA Order, 7 FCC Rcd at 8769, para. 31 (citing House Report, 102-
14   317, 1st Sess., 102nd Cong. (1991) at 13, “noting that in such instances the called
15   party has in essence requested the contact by providing the caller with their
16   telephone number for use in normal business communications”). This holding by
17   the FCC is not intended to mean that persons who release their phone number to
18   some other third party unaffiliated with the caller, are giving express consent to be
19   called by the caller. In re Rules and Regulations Implementing the Telephone
20   Consumer Protection Act of 1991, Report and Order, 7 FCC Rcd. 8752, 8769, ¶ 31
21   (Oct. 16, 1992) (the “1992 FCC Order”). Undoubtedly, Plaintiff never provided or
22   released his phone number to the Defendant in this case, nor did he provide consent
23   to it to call him for any reason whatsoever.
24         31.    Defendant called Plaintiff to recruit him for employment with the
25   company on his cellular telephone beginning in or around December 2019.
26         32.     Plaintiff does not allege that this call was a telephone “solicitation”,
27   but rather that it was an unsolicited job recruitment call, and thus, this call does not
28   fall under the purview of Section 47 U.S.C. § 227(c)(5), nor does Plaintiff allege a


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 1   violation of this section of the statute.
 2         33.    Upon information and belief, based on Plaintiff’s experiences of being
 3   called by Defendant, and at all relevant times, Defendant failed to establish and
 4   implement reasonable practices and procedures to effectively prevent unlawful
 5   telephone job recruitment calls in violation of the regulations prescribed under 47
 6   U.S.C. § 227(c)(5).
 7                                 CLASS ALLEGATIONS
 8         34.    Plaintiff brings this action individually and on behalf of all others
 9   similarly situated, as a member of the classe (hereafter, “The Class”) as defined as
10   follows:
11
                  All persons within the United States who received any
12                unsolicited recruitment telephone calls from Defendant
13                to said person’s cellular telephone made through the use
                  of any automatic telephone dialing system or an artificial
14
                  or prerecorded voice and such person had not previously
15                consented to receiving such calls within the four years
16
                  prior to the filing of this Complaint

17
           35.    Plaintiff represents, and is a member of, The Class, consisting of all
18
     persons within the United States who received any telephone calls from Defendant
19
     to said person’s cellular telephone made through the use of any automatic telephone
20
     dialing system or an artificial or prerecorded voice and such person had not
21
     previously not provided their cellular telephone number to Defendant within the
22
     four years prior to the filing of this Complaint.
23
           36.    Defendant, it’s employees and agents are excluded from The Class.
24
     Plaintiff does not know the number of members in The Class, but believes the Class
25
     members number in the thousands, if not more. Thus, this matter should be
26
     certified as a Class Action to assist in the expeditious litigation of the matter.
27
           37.    The Class is so numerous that the individual joinder of all of its
28
     members is impractical. While the exact number and identities of The Class


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 1   members are unknown to Plaintiff at this time and can only be ascertained through
 2   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
 3   The Class includes thousands of members.         Plaintiff alleges that The Class
 4   members may be ascertained by the records maintained by Defendant.
 5         38.   Plaintiff and members of The Class were harmed by the acts of
 6   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
 7   and Class members via their cellular telephones thereby causing Plaintiff and Class
 8   members to incur certain charges or reduced telephone time for which Plaintiff and
 9   Class members had previously paid by having to retrieve or administer messages
10   left by Defendant during those illegal calls, and invading the privacy of said
11   Plaintiff and Class members.
12         39.   Common questions of fact and law exist as to all members of The
13   Class which predominate over any questions affecting only individual members of
14   The Class. These common legal and factual questions, which do not vary between
15   Class members, and which may be determined without reference to the individual
16   circumstances of any Class members, include, but are not limited to, the following:
17               a.     Whether, within the four years prior to the filing of this
18                      Complaint, Defendant made any call (other than a call made for
19                      emergency purposes or made with the prior express consent of
20                      the called party) to a Class member using any automatic
21                      telephone dialing system or any artificial or prerecorded voice
22                      to any telephone number assigned to a cellular telephone
23                      service;
24               b.     Whether Plaintiff and the Class members were damaged
25                      thereby, and the extent of damages for such violation; and
26               c.     Whether Defendant and it’s agents should be enjoined from
27                      engaging in such conduct in the future.
28         40.   As a person that received recruitment calls from Defendant using an


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 1   automatic telephone dialing system or an artificial or prerecorded voice, without
 2   Plaintiff’s prior express consent, Plaintiff is asserting claims that are typical of The
 3   Class.
 4            41.   Plaintiff will fairly and adequately protect the interests of the members
 5   of The Class. Plaintiff has retained attorneys experienced in the prosecution of
 6   class actions.
 7            42.   A class action is superior to other available methods of fair and
 8   efficient adjudication of this controversy, since individual litigation of the claims
 9   of all Class members is impracticable. Even if every Class member could afford
10   individual litigation, the court system could not. It would be unduly burdensome
11   to the courts in which individual litigation of numerous issues would proceed.
12   Individualized litigation would also present the potential for varying, inconsistent,
13   or contradictory judgments and would magnify the delay and expense to all parties
14   and to the court system resulting from multiple trials of the same complex factual
15   issues. By contrast, the conduct of this action as a class action presents fewer
16   management difficulties, conserves the resources of the parties and of the court
17   system, and protects the rights of each Class member.
18            43.   The prosecution of separate actions by individual Class members
19   would create a risk of adjudications with respect to them that would, as a practical
20   matter, be dispositive of the interests of the other Class members not parties to such
21   adjudications or that would substantially impair or impede the ability of such non-
22   party Class members to protect their interests.
23            44.   Defendant has acted or refused to act in respects generally applicable
24   to The Class, thereby making appropriate final and injunctive relief with regard to
25   the members of the Class as a whole.
26   ///
27   ///
28   ///


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 1                             FIRST CAUSE OF ACTION
 2          Negligent Violations of the Telephone Consumer Protection Act
 3                                      47 U.S.C. §227(b).
 4                                 On Behalf of the Class
 5         45.    Plaintiff repeats and incorporates by reference into this cause of action
 6   the allegations set forth above.
 7         46.    The foregoing acts and omissions of Defendant constitute numerous
 8   and multiple negligent violations of the TCPA, including but not limited to each
 9   and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
10   47 U.S.C. § 227 (b)(1)(A).
11         47.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
12   Plaintiff and the Class Members are entitled an award of $500.00 in statutory
13   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
14         48.    Plaintiff and the Class members are also entitled to and seek injunctive
15   relief prohibiting such conduct in the future.
16                           SECOND CAUSE OF ACTION
17    Knowing and/or Willful Violations of the Telephone Consumer Protection
18                                Act - 47 U.S.C. §227(b)
19                                 On Behalf of the Class
20         49.    Plaintiff repeats and incorporates by reference into this cause of action
21   the allegations set forth above.
22         50.    The foregoing acts and omissions of Defendant constitute numerous
23   and multiple knowing and/or willful violations of the TCPA, including but not
24   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
25   and in particular 47 U.S.C. § 227 (b)(1)(A).
26         51.    As a result of Defendant’s knowing and/or willful violations of 47
27   U.S.C. § 227(b), Plaintiff and the Class members are entitled an award of $1,500.00
28   in statutory damages, for each and every violation, pursuant to 47 U.S.C. §


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 1   227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 2         52.    Plaintiff and the Class members are also entitled to and seek injunctive
 3   relief prohibiting such conduct in the future.
 4                                PRAYER FOR RELIEF
 5   WHEREFORE, Plaintiff requests judgment against Defendant for the following:
 6                             FIRST CAUSE OF ACTION
 7          Negligent Violations of the Telephone Consumer Protection Act
 8                                    47 U.S.C. §227(b)
 9               • As a result of Defendant’s negligent violations of 47 U.S.C.
10                §227(b)(1), Plaintiff and the Class members are entitled to and
11                request $500 in statutory damages, for each and every violation,
12                pursuant to 47 U.S.C. 227(b)(3)(B).
13               • Any and all other relief that the Court deems just and proper.
14                           SECOND CAUSE OF ACTION
15    Knowing and/or Willful Violations of the Telephone Consumer Protection
16                                            Act
17                                    47 U.S.C. §227(b)
18               • As a result of Defendant’s willful and/or knowing violations of 47
19                U.S.C. §227(b)(1), Plaintiff and the Class members are entitled to and
20                request treble damages, as provided by statute, up to $1,500, for each
21                and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47
22                U.S.C. §227(b)(3)(C).
23               • Any and all other relief that the Court deems just and proper.
24                                    JURY DEMAND
25         53.    Pursuant to the Seventh Amendment to the Constitution of the United
26   States of America, Plaintiff is entitled to, and demands, a trial by jury.
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                       THIRD AMENDED CLASS ACTION COMPLAINT
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         Respectfully Submitted this 21st Day of July, 2020.
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                            LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 4
 5                                 By: /s/ Todd M. Friedman
                                       Todd M. Friedman
 6
                                       Adrian R. Bacon
 7                                     Law Offices of Todd M. Friedman
 8
                                       Attorney for Plaintiff

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                    THIRD AMENDED CLASS ACTION COMPLAINT
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 Case 2:20-cv-00894-MWF-JEM Document 35 Filed 07/21/20 Page 16 of 16 Page ID #:281




                                 CERTIFICATE OF SERVICE
 1
 2   Filed electronically on this 21st day of July, 2020, with:
 3
     United States District Court CM/ECF system
 4
 5   Notification sent electronically on this 21st day of July, 2020, to:
 6   Honorable Judge Michael W. Fitzgerald
 7   United States District Court
     Central District of California
 8
 9   Betty Thi Huynh
10   Wendy M. Thomas
     Markun Zusman Freniere and Compton LLP
11   Attorneys for Defendant Fraser Financial and
12   Insurance Services, Inc.
13
     Dated: July 21, 2020
14
15
     s/Todd M. Friedman, Esq.
     Todd M. Friedman
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                       THIRD AMENDED CLASS ACTION COMPLAINT
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